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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



IN RE: OIL SPILL by the OIL RIG     *   MDL NO. 2179
       "DEEPWATER HORIZON" in the   *
       GULF OF MEXICO, on           *   SECTION J
       APRIL 20, 2010               *
                                    *   JUDGE BARBIER
THIS PLEADING APPLIES TO:           *   MAG. JUDGE SHUSHAN
No. 12-311                          *
                                    *   JURY TRIAL DEMANDED

***************************************************



         PLAINTIFF CAMERON INTERNATIONAL CORPORATION'S
              MEMORANDUM OF LAW IN SUPPORT OF ITS
       MOTION FOR PARTIAL SUMMARY JUDGMENT ON ITS CLAIMS
     FOR BREACH OF CONTRACT, INDEMNITY, AND DEFENSE EXPENSES




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                                       INTRODUCTION

               This case is about Liberty's refusal to honor its insurance obligations and pay the

losses that Cameron suffered as a result of the Macondo Well blowout.

               On December 15, 2011, Cameron incurred a loss under its insurance policies

when, with the Court's assistance, it settled a multi-billion-dollar claim by BP and others for

$250 million (the "BP-Cameron Settlement"). All of Cameron's insurers resolved Cameron's

insurance claim, but not Liberty. Instead, Liberty offered two excuses for its refusal to pay.

There is no genuine dispute as to any material fact as to either. Accordingly, Cameron should be

granted summary judgment on its Breach of Contract, Indemnity, and Defense Expenses claims.

               First, Liberty claims that Cameron had "other insurance"—in the form of a

disputed contractual indemnity from Transocean—that Liberty says Cameron had to exhaust

before Liberty's coverage obligations were triggered. This argument fails as a matter of law.

After thorough briefing and oral argument, this Court denied Liberty's motion for judgment on

the pleadings, holding that Liberty's "Other Insurance" clause is susceptible to "two reasonable

interpretations"—one of which affords coverage to Cameron because "Transocean's refusal to

provide indemnity would mean that there is no 'other insurance' that 'applies' to Cameron's loss."

(Order & Reasons at 20, Aug. 16, 2012, Dkt. 7129.) A straightforward application of established

Texas law required, and still requires, the Court to adopt Cameron's interpretation as a matter of

law.   See, e.g., id. ("Given these alternatives, the Court adopts [Cameron's interpretation],

favoring coverage, for purposes of deciding this motion."); Nat'l Union Fire Ins. Co. of

Pittsburgh, Pa. v. Hudson Energy Co., 811 S.W.2d 552, 555 (Tex. 1991) ("[I]f a contract of

insurance is susceptible of more than one reasonable interpretation, [a court] must resolve the

uncertainty by adopting the construction that most favors the insured.").



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              Discovery has not altered the Court's conclusion that Cameron's interpretation is

reasonable.   Quite the contrary.    Discovery has confirmed that Liberty's interpretation is

unreasonable and was never intended by Liberty or Cameron. Liberty's underwriters candidly

testified, among other things, that when Liberty sold Cameron the policy they expected Liberty

to pay claims where, as here, a potential indemnitor like Transocean denied responsibility.

Discovery also has demonstrated that "other insurance" as used in Liberty's policy does not

include non-insurance contractual indemnities such as the Transocean indemnity.

              Second, Liberty asserts that Cameron breached the policy by allegedly

extinguishing Liberty's subrogation rights in its settlement with BP. Liberty, however, had

already lost those rights as a matter of law through its own wrongful denial of liability for any

settlement with BP.     Before the settlement was reached, based on its "Other Insurance"

argument, Liberty told Cameron in no uncertain terms that it would not pay, no matter what.

Under Texas law, Liberty was not entitled to refuse to pay Cameron's claim for the BP-Cameron

Settlement while, at the same time, requiring Cameron to protect Liberty's rights in that

settlement. Once Liberty denied liability, it had no rights under the policy and Cameron was

entitled to resolve its potentially devastating litigation with BP without regard to Liberty's

purported subrogation rights.

              Liberty's argument fails for another independent reason:       In their settlement

agreement, Cameron and BP expressly preserved any subrogation rights Liberty might have had.

The plain language of the agreement states that Cameron did not release Liberty's rights to

subrogation against BP, Transocean, or any other parties. Nonetheless, Liberty asks the Court to

ignore clear provisions in the settlement expressly preserving Liberty's rights, provisions that

were added specifically to preclude the very argument Liberty is making now. No basis exists to



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do so, especially because the only parties to the settlement (BP and Cameron) have confirmed

that Liberty's subrogation rights were preserved.

                Cameron also moves for summary judgment on its claim that Liberty was

required to pay Cameron's expenses defending the Macondo litigation. The undisputed facts

have established that Cameron's defense expenses are covered by the first underlying policy that

Liberty expressly incorporated into its policy terms. Because Liberty's excess policy disavows

only its duty to defend, but not its obligation to indemnify defense expenses, Liberty must pay

those expenses—as confirmed in discovery by Liberty's own witnesses.

                                       STATEMENT OF FACTS

I.      THE LIBERTY INSURANCE POLICY

                Cameron purchased excess casualty insurance from Liberty for the period from

July 1, 2009 to July 1, 2010 (the "Liberty Policy" or "Policy"). (Liberty Policy Decl. Item 2

(Ex. 2); Cameron's Statement of Undisputed Material Facts ("SOF") ¶ 1.)1 Under the Policy,

Liberty agreed to provide $50 million in coverage if Cameron suffered a "loss" in excess of

$103 million. (Liberty Policy Art. I, Decl. Items 4-5; SOF ¶ 6.) If Cameron incurred such a loss,

Liberty promised to "promptly pay on [Cameron's] behalf the amount of 'loss' covered under this

policy." (Liberty Policy Art. V(H); SOF ¶ 6.)

                The Liberty Policy was drafted by Liberty using its standard terms and conditions,

as set forth on Liberty Form 0101-XS (Ed. 03-00). (Morris Dep. at 38 (Ex. 3); Mandel Dep.

at 40-42 (Ex. 4); Form 0101-XS (Ed. 03-00) (Ex. 5); SOF ¶ 5.) Liberty did not negotiate those

terms and conditions, and did not do so with Cameron. (Mandel Dep. at 45-47 (Ex. 4) (testifying




1
        All exhibits cited as "Ex. __" refer to exhibits attached hereto. For the Court's convenience, attached as
        Exhibit 1 is an index of exhibits.


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that Liberty "never" agreed to modify the terms of its excess liability policy and "never" did so

with Cameron); Morris Dep. at 54 (Ex. 3) ("[T]his is the form that everybody gets."); SOF ¶ 5.)

               The Liberty Policy was one layer in a "tower" of excess casualty insurance.

(Insurance Tower Diagram (Ex. 6); SOF ¶ 4.) The Policy expressly applied "excess of the

Underlying Insurance," which included only the policies issued by Illinois National Insurance

Co. ("INIC"), ACE American Insurance Co., and XL Insurance Company Ltd. (Liberty Policy

Art. I, Decl. Items 4-5 (Ex. 2); Insurance Tower Diagram (Ex. 6); SOF ¶ 4.)

               Liberty charged Cameron a premium of $210,000, or $4,200 per million dollars,

for its layer of coverage. (Liberty Policy Decl. Items 3, 5 (Ex. 2); SOF ¶ 2.) Had Liberty's

attachment point been higher, moving Liberty further away from the risk of paying a claim,

Liberty's premium would have been lower. (Mandel Dep. at 116 (Ex. 4).)

               The Liberty Policy contained an "Other Insurance" clause. That provision states:

"If other insurance applies to a 'loss' that is also covered by this policy, this policy will apply

excess of such other insurance." (Liberty Policy Art. V(F) (Ex 2).) "Other insurance" under this

clause "includes any type of self-insurance, indemnification or other mechanism by which an

Insured arranges for funding of legal liabilities." (Id.) However, when Liberty sold the policy,

its underwriter understood that, if the source of potential indemnity refused to pay Cameron's

loss, it would be Liberty's responsibility to pay. (Mandel Dep. at 104 (Ex. 4) ("Q: And if [the

indemnitor] didn't pay that loss, then it would be Liberty's responsibility, because it issued an

insurance policy, to pay that loss, correct? A: Correct.").) The "Other Insurance" clause was

"never" intended by Liberty to leave Cameron without coverage for its losses. (Id. at 31.)

               The Liberty Policy is a "follow form" policy that is subject to the same "terms and

conditions" as the underlying INIC Policy unless they are expressly altered by the Liberty Policy.



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(Liberty Policy Art. I (Ex. 2); SOF ¶ 34.) The INIC Policy states that "Defense Expenses will be

in addition to the applicable Limits of Insurance of this policy." (INIC Policy End. 29 ¶ 2

§ IV(H) (Ex. 9); SOF ¶ 35.)      Nothing in the Liberty Policy derogates from this express

contractual commitment. (See Liberty Policy (Ex. 2); SOF ¶ 36.)

II.    THE BP/TRANSOCEAN/CAMERON LITIGATION

              On April 20, 2010, a blowout of the Macondo Well occurred, causing a

catastrophic explosion and fire aboard the DEEPWATER HORIZON. (SOF ¶ 7.) These events

gave rise to hundreds of lawsuits, naming Cameron, Transocean, BP and others as defendants

and third-party defendants. (Id.) BP also sued Cameron, seeking to hold Cameron responsible

because it had supplied the blowout preventer used on the DEEPWATER HORIZON. (BP's

Third-Party Compl. Against Cameron, Apr. 20, 2011, Dkt. 2065.)

              Following the Macondo Well blowout, Cameron sought indemnity from

Transocean under their contractual agreements. (SOF ¶ 9.) Those agreements contained an

indemnification provision pursuant to which, "if Transocean is entitled to indemnity under any

contract with its customers" for pollution liability, Transocean would provide Cameron "with the

benefit of such indemnity to the fullest extent possible." (MSA Am. No. 1 ¶ 15 at LIU07210

(Ex. 10); see Purchase Order ¶ 18 at LIU12017 (Ex. 11.)

              Although Transocean honored other indemnity obligations, it denied that it had

any obligation to Cameron for pollution liability.    (SOF ¶¶ 10-16)     Far from agreeing to

indemnify Cameron, Transocean sued Cameron for damages, and both Transocean and BP

opposed Cameron's attempts to obtain indemnity. (Liberty's Resps. to Req. for Admis. Nos. 15-

16, Apr. 8, 2013 (Ex. 12); Transocean's Opp'n to Cameron's Mot. for Summ. J., Nov. 30, 2011,

Dkt. 4778; BP's Opp'n to Cameron's Mot. for Summ. J., Dec. 7, 2011, Dkt. 4828; SOF ¶ 11.)



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III.   LIBERTY REFUSES TO PAY CAMERON'S CLAIM

               After vigorously defending the Oil Spill MDL for over a year, with billions of

dollars at stake, Cameron determined that settlement was its best option. Starting in October

2011, Cameron engaged in settlement discussions with BP. (SOF ¶ 12.) Cameron kept all of its

insurers, including Liberty, apprised of the progress of negotiations and sought their input. (See

Nusum Dep. at 18 (Ex. 13); Sledge Dep. at 78-79 (Ex. 14); Lee Dep. at 171-72 (Ex. 15).)

               On November 7, 2011, some eighteen months after Cameron first gave Liberty

notice of its claim, Liberty told Cameron that it would not pay anything in connection with any

settlement with BP. (Nov. 7, 2011 letter from P. Koepff (Ex. 16); SOF ¶ 17.) Citing its "Other

Insurance" clause, Liberty denied that it had any obligation to Cameron "until a court determines

that Cameron is not entitled to contractual indemnity." (Id.) Liberty took this position even

though it knew that Transocean had denied any obligation to indemnify Cameron for pollution

liability. (Liberty's Resp. to Req. for Admis. No. 15, Apr. 8, 2013 (Ex. 12).)

               On December 12, 2011, with the assistance of Magistrate Judge Shushan,

Cameron reached a tentative agreement with BP to settle the case for $250 million. (Dec. 12,

2011 email from M. Auslander (Ex. 17); SOF ¶ 18.) Shortly thereafter, Cameron secured the

approval of all of its insurers, except Liberty.       Although Liberty did not object to the

reasonableness of the $250 million payment, and expressly waived its rights under the consent

provisions of the Liberty Policy, it refused to pay. (Dec. 14, 2011 letter from P. Koepff (Ex. 18);

SOF ¶ 20, 21.) Instead, Liberty repeated that "it would not offer any amounts under its policies

[sic] because of the other insurance provision." (Dec. 13, 2011 letter from P. Koepff (Ex. 19);

see also Engel Dep. at 221-22 (Ex. 20).)




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               Even without Liberty's support, Cameron was able to move forward with the

settlement based on all the other insurers' agreement to pay and waive their subrogation rights.

However, because of Liberty's aggressive behavior, Cameron decided it would be prudent to

negotiate a specific provision to preserve Liberty's rights, if any, which it did. (BP-Cameron

Settlement ¶ 4.4 (Ex. 21) ("Notwithstanding any other provision of this Agreement, . . . Cameron

is not releasing any subrogation or other rights of Liberty Insurance Underwriters Inc.").)

               On December 15, 2011, shortly before midnight, BP and Cameron signed the

Settlement Agreement and agreed to pay $250 million to BP. (See BP-Cameron Settlement (Ex.

21); SOF ¶ 23.) Because Transocean had rejected Cameron's requests for pollution indemnity

and challenged them in court, Cameron had no indemnity from Transocean at that time. (SOF

¶ 13.) Other than its own resources, Cameron could only resort to the tower of insurance,

including the Liberty Policy, to pay its $250 million loss. Liberty, however, did not pay.

                                          ARGUMENT

               Under Texas law, insurance policies are contracts to be interpreted "according to

settled rules of construction." Nat'l Union Fire Ins. Co. of Pittsburgh, Pa. v. Crocker, 246

S.W.3d 603, 606 (Tex. 2008). The "primary concern" in construing an insurance policy is to

"effectuate the parties' intent as expressed." Don't Bldg. Supply, Inc. v. OneBeacon Ins. Co., 267

S.W.3d 20, 30 (Tex. 2008). This requires the Court to read all parts of the contract together and

to strive "to give meaning to every sentence, clause, and word to avoid rendering any portion

inoperative." Balandran v. Safeco Ins. Co. of Am., 972 S.W.2d 738, 741 (Tex. 1998). Where the

policy's terms are unambiguous, the terms are enforced according to their plain meaning. See

Travelers Lloyds Ins. Co. v. Pac. Emp'rs Ins. Co., 602 F.3d 677, 681 (5th Cir. 2010). "However,

if an ambiguity exists—i.e., if the term is susceptible to two or more reasonable interpretations—



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the term is interpreted in favor of coverage."      (Order & Reasons at 20, Aug. 16, 2012,

Dkt. 7129.) See also Hudson Energy, 811 S.W.2d at 555.

               Applying these well-settled principles, Cameron is entitled to summary judgment

on its claims for Breach of Contract, Indemnity, and Defense Expenses.

I.       LIBERTY'S "OTHER INSURANCE" DEFENSE SHOULD BE REJECTED AS A
         MATTER OF LAW.

               There is no dispute that Transocean denied owing any contractual indemnity to

Cameron for pollution liability. (Liberty's Resps. to Req. for Admis. Nos. 15-16, Apr. 8, 2013

(Ex. 12); Liberty's Answer & Affirmative Defenses ¶ 32, Mar. 29, 2012, Dkt. 6147; Transocean's

Opp'n to Cameron's Mot. for Summ. J., Nov. 30, 2011, Dkt. 4778.) When Cameron settled with

BP, therefore, no money at all was coming from Transocean to pay Cameron's loss.

               Nevertheless, Liberty maintains that coverage under the Liberty Policy is "excess"

of "Cameron's indemnification rights against Transocean" pursuant to Liberty's "Other

Insurance" clause. (Liberty Supp. Interrog. Resp. No. 3, Feb. 25, 2013 (Ex. 22).) But Liberty

cannot establish, as it must to evade liability, that Cameron had "other insurance" that "applies"

to its loss. (Order & Reasons at 19, Aug. 16, 2012, Dkt. 7129 (holding that Liberty bears the

burden of proof).) Cameron had no "other insurance" at all—it had a claim for contractual

indemnity that Transocean had refused to honor and was contesting in court. Accordingly, as a

matter of law, Cameron's "Other Insurance" defense must be rejected.

         A.    Cameron Did Not Have Any "Other Insurance" That "Applies" To
               Cameron's Loss When It Settled With BP.

               1.     The Court Has Held That Cameron's Interpretation Favoring
                      Coverage Is Reasonable And That Interpretation Must Be Accepted
                      Under Texas Law.

               This is not the first time the parties have asked the Court to interpret Liberty's

"Other Insurance" clause. Shortly after this case was filed, Liberty filed a motion for judgment

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on the pleadings, arguing that the Liberty Policy's "Other Insurance" provision should be

construed to mean that the Liberty Policy has not attached in light of Cameron's claim for

potential contractual indemnification against Transocean.

               In a 30-page opinion, the Court denied Liberty's motion. (Order & Reasons, Aug.

16, 2012, Dkt. 7129.) In that decision, the Court carefully analyzed Liberty's "Other Insurance"

clause, which states: "If other insurance applies to a 'loss' that is also covered by this policy, this

policy will apply excess of such other insurance." (Liberty Policy Art. V(F) (Ex. 2).) Because

the "operative words" are "if" and "applies," the Court stated that "[t]he Liberty Policy is excess

of the Transocean indemnity only if the Transocean indemnity applies to the loss." (Order &

Reasons at 19, Aug. 16, 2012, Dkt. 7129 (emphasis in original).) The Liberty Policy, however,

does not define "applies" and, thus, the Court sought to determine its meaning. (Id.)

               After reviewing the relevant contract law principles, the Court held:

               There are two reasonable interpretations that could be given to "applies."
               It could mean that Liberty's coverage is excess of any "other insurance"
               that might potentially apply to Cameron's loss, despite the fact that (1)
               Transocean has denied that it owes Cameron indemnification and (2) the
               validity/scope of the indemnity clauses in the Cameron-Transocean
               Contracts has never been judicially determined. However, "applies" could
               also mean that Liberty's coverage attaches unless "other insurance"
               actually and presently applies. Under this interpretation, Transocean's
               refusal to provide indemnity would mean that there is no "other insurance"
               that "applies" to Cameron's loss.

(Id. at 20 (emphasis in original).)

               This holding is dispositive. As the Court stated in its previous ruling, under long-

settled Texas law, "if a contract of insurance is susceptible of more than one reasonable

interpretation, [a court] must resolve the uncertainty by adopting the construction that most




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favors the insured." Hudson Energy, 811 S.W.2d at 555.2 (See also Order & Reasons at 20,

Aug. 16, 2012, Dkt. 7129.) This fundamental doctrine applies with special force where, as in

this case, an insurer seeks to use a policy provision to exclude or limit coverage. See Barnett v.

Aetna Life Ins. Co., 723 S.W.2d 663, 666 (Tex. 1987) (courts "must adopt the construction of an

exclusionary clause urged by the insured as long as that construction is not itself unreasonable,

even if the construction urged by the insurer appears to be more reasonable or a more accurate

reflection of the parties' intent").3

                Here, the Court has held that the word "applies" is susceptible to "two reasonable

interpretations"—one that results in coverage for Cameron, one that does not. (Order & Reasons

at 20, Aug. 16, 2012, Dkt. 7129.) A straightforward application of established Texas law

requires the Court to adopt Cameron's interpretation, under which "Transocean's refusal to

provide indemnity would mean that there is no 'other insurance' that 'applies' to Cameron's loss."

(Id.) See, e.g., Hudson Energy, 811 S.W.2d at 555; Barnett, 723 S.W.2d at 666-67. Liberty's

"Other Insurance" argument must therefore be rejected as a matter of law.

                This result also makes sense.             Policyholders purchase insurance to receive

payment for losses covered by the policy. Where no payment is forthcoming from any other

source, the insured should receive the insurance for which it paid. Policyholders do not bear the

risk that they will be left without any insurance just because the source of "other insurance" has

refused to (or cannot) pay. See 15 LEE R. RUSS & THOMAS F. SEGALLA, COUCH ON INSURANCE

§ 219:1 (3d ed. 2005 & Supp. 2013) (Ex. 23) ("'Other insurance' clauses govern the relationship


2
        See, e.g., Evanston Ins. Co. v. Legacy of Life Inc., 370 S.W.3d 377, 380 (Tex. 2012); Progressive Cty. Mut.
        Ins. Co. v. Sink, 107 S.W.3d 547, 551 (Tex. 2003); Grain Dealers Mut. Ins. Co. v. McKee, 943 S.W.2d 455,
        458 (Tex. 1997).
3
        See, e.g., Houston Exploration v. Wellington Underwriting Agencies, Ltd., 352 S.W.3d 462, 472 (Tex. Aug.
        26, 2011); Hudson Energy, 811 S.W.2d at 555; Am. Nat'l Gen. Ins. Co. v. Ryan, 274 F.3d 319, 323 (5th Cir.
        2001).


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between insurers[;] they do not affect the right of the insured to recover under each concurrent

policy."). Indeed, the Texas Supreme Court has recognized that it would be "unconscionable"

for insureds like Cameron to have less coverage as a result of an "other insurance" provision than

if they "had been protected by only one of the policies." Hardware Dealers Mut. Fire Ins. Co. v.

Farmers Ins. Exch., 444 S.W.2d 583, 586 (Tex. 1969); see also Rhone-Poulenc, Inc. v. Int'l Ins.

Co., No. 94-C-3303, 1996 WL 328011, at *13 (N.D. Ill. June 11, 1996) ("[T]he only reasonable

construction of [the 'other insurance' clause] is that it may be applied by [the insurer] as a shield

against [the insured's] claim, but only if other carriers have acknowledged coverage" (emphasis

added)). That is exactly what Liberty seeks to do here. Its "unconscionable" position should be

rejected as a matter of law.

               2.      Discovery Has Conclusively Established That Liberty Was Not
                       Entitled To Deny Cameron Insurance When Transocean Refused To
                       Indemnify Cameron.

               In the preceding section, Cameron demonstrated that Liberty's "Other Insurance"

clause must be construed in favor of coverage under Texas law. There is thus no need for the

Court to consider extrinsic evidence of intent. However, even if the Court were to consider

intent, discovery in this case, including admissions of Liberty's underwriters, has conclusively

established that no genuine dispute exists that Liberty's "Other Insurance" provision is

inapplicable under the circumstances of this case.

               As an initial matter, this is the first time that Liberty has taken the position that

"other insurance" existed where "the party that supposedly owes the indemnity has denied

payment to the insured." (Engel Dep. at 160-61 (Ex. 20).) This, despite the fact that Liberty's

"Other Insurance" provision has been in all Liberty excess policies in this exact form since "late

1999 or early 2000." (Liberty Supp. Interrog. Resp. No. 11, Feb. 25, 2013 (Ex. 22); see also

Morris Dep. at 54 (Ex. 3), Mandel Dep. at 45 (Ex. 4).)

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              It is therefore unsurprising that no one—not Liberty, not Cameron, not anyone—

had any expectation or intent that Liberty could take this unprecedented position when the

Liberty Policy was issued. Alan Mandel, the Liberty underwriter who sold Cameron the Liberty

Policy, testified that Liberty understood that "Cameron wished to purchase insurance to cover the

risk that might result from a blowout." (Mandel Dep. at 50 (Ex. 4); see also id. at 55, 156-57.)

Mr. Mandel also understood that Cameron sought to obtain indemnity in all customer contracts

for that risk. (Id. at 61-62.) But if those customers refused to honor a contractual indemnity,

Liberty understood it was its responsibility to pay Cameron's losses; Cameron was not to be left

without coverage. (Id. at 104, 110-11, 174.) As Mr. Mandel testified:

       Q:     Was it your expectation, when you underwrote [Cameron's] risk, that the third
              parties with whom Cameron had those contractual indemnities would pay the loss
              that Cameron incurs?

       A:     Yes.

       Q:     And if [they] didn't pay that loss, then it would be Liberty's responsibility,
              because it issued an insurance policy, to pay that loss; correct?

       A:     Correct.

(Id. at 104; see also id. at 110-11, 174.) Mr. Mandel's testimony as the seller of the Liberty

Policy removes any doubt that the Policy was intended to respond where, as here, the indemnitor

(Transocean) denied any obligation to pay.

              Mr. Mandel's testimony also demonstrates that Liberty's position on Cameron's

claim is entirely contrived. He candidly testified that Cameron's contractual indemnities did not

have anything "at all" to do with the "other insurance" provision when Liberty sold the Liberty

Policy to Cameron. (Mandel Dep. at 108-09 (Ex. 4).) And it was certainly not viewed by

Liberty's underwriters as a possible excuse for Liberty to evade liability.       (See id. at 31




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(testifying that he "never" expected Liberty could use the "other insurance" clause as a basis to

decline to pay Cameron); Rogin Dep. at 31, 34 (Ex. 27).)

               To the contrary, Mr. Mandel testified that the "Other Insurance" clause was

intended to avoid a situation where different insurers would "pay the same claim two times."

(Mandel Dep. at 83 (Ex. 4).) That understanding—unlike the post-hoc interpretation espoused

by Liberty after this dispute arose—is completely consistent with industry usage. See St. Paul

Mercury Ins. Co. v. Lexington Ins. Co., 78 F.3d 202, 206 (5th Cir. 1996) (other insurance clauses

"avoid an insured's temptation or fraud of over-insuring . . . property or inflicting self-injury"). It

is also consistent with how Liberty's own affiliates have handled claims under analogous

circumstances where the source of other insurance has refused to pay. See Compl. at 9, Liberty

Int'l Underwriters Canada v. Scottsdale Ins. Co., Civ. A. No. 1:12-cv-04934 (D.N.J. Aug. 6,

2012) ("As a result of Scottsdale's denial, LIU was forced to front all defense and indemnity

payments relating to the underlying action.") (emphasis added) (Ex. 28).

               Liberty's position, by contrast, has left an unintended $50 million gap in

Cameron's insurance tower. According to Liberty's Chief Claims Officer, James Engel, the

Liberty Policy did not attach at $103 million, and "may not have attached at all," by virtue of its

"Other Insurance" interpretation. (Engel Dep. at 262-63 (Ex. 20); see also Morris Dep. at 92-93

(Ex. 3).) Because Cameron typically seeks to obtain contractual indemnity when it sells blowout

preventers—its principal business—Liberty's interpretation effectively renders the Liberty Policy

illusory for blowouts—the very risk that Cameron sought to insure. (See Mandel Dep. at 50, 61-

62, 156-57 (Ex. 4); Morris Dep. at 92-93 (Ex. 3).) If Liberty were to have its way, either the

"other insurer" (Transocean) would pay, and let Liberty off the hook, or Liberty would not be

required to pay because a court might one day conclude following potentially ruinous litigation



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that the indemnitor, who Liberty argues is an "other insurer," was obligated to pay. But Liberty

did not sell, and Cameron did not buy (and would not have bought), such "heads I win, tails you

lose" insurance.

               The premium Liberty charged Cameron further demonstrates that Liberty's

coverage was intended to attach after Cameron's claim payout exceeded $103 million, not

$103 million plus some inchoate right to recover on an indemnity from Transocean. According

to Liberty's underwriter, he charged a premium consistent with Liberty's place in Cameron's

tower. (See Mandel Dep. at 114-15 (Ex. 4).) Had Liberty's attachment point been higher than

$103 million, Liberty would have charged less. (Id. at 116 ("Q: Is there any basis to charge the

same $4,200 for higher layers of coverage under Liberty's pricing policies? A: Probably not.").)

               The uncontroverted evidence is that neither party intended the "Other Insurance"

clause to permit Liberty to evade its obligation to pay a covered loss when the source of the

"other insurance" was not paying. Liberty's own underwriter—the person who sold Cameron the

Liberty Policy—conceded as much. Given the undisputed facts, Liberty cannot carry its burden

to establish its "Other Insurance" defense and Cameron is entitled to summary judgment. (Order

& Reasons at 19, Aug. 16, 2012, Dkt. 2179 (Liberty bears the burden of proof).)

       B.      "Other Insurance" Does Not Include Non-Insurance                     Contractual
               Indemnities Such As The Purported Transocean Indemnity.

               Liberty's "Other Insurance" interpretation fails as a matter of law for another

independent reason: Transocean's purported contractual indemnity is not "other insurance."

               The purported Transocean indemnity is a one-paragraph term in a contract

between Cameron and Transocean.        (Purchase Order ¶ 18 (Ex. 11); MSA Am. No. 1 ¶ 15

(Ex. 10).) It is not "insurance" in any sense of the word. Nowhere in that one paragraph are any




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of the definitions, conditions, exclusions and other terms that are typically found in insurance

policies. Nor is Transocean an "insurer" in the business of insuring risks.

               It is well understood in the insurance industry that insurance and contractual

indemnity are two different things. According to one leading textbook, contractual indemnities

are considered "non-insurance transfers," distinct from "insurance." See C. LUTHARDT & E.

WIENING, PROPERTY AND LIABILITY INSURANCE PRINCIPLES at 10.12 (4th ed. 2005) (Ex. 24).

               No matter how expansive the definition of "other insurance" in the Liberty

Policy, that term simply cannot mean "non-insurance" contractual indemnities. For starters, the

Liberty Policy states that "other insurance includes any type of self-insurance, indemnification or

other mechanism by which an Insured arranges for funding of legal liabilities." (Liberty Policy

Art. V(F) (Ex. 2) (emphasis added).) The term "includes" cannot expand the definition of "other

insurance" to bring within its scope things that are not actually insurance. See Barnett v. Aetna

Life Ins. Co., 723 S.W.2d 663, 666 (Tex. 1987) ("Where specific and particular enumerations of

persons or things . . . are followed by general words, the general words are not to be construed in

their widest meaning or extent but are to be treated as limited and applying only to persons or

things of the same kind or class as those expressly mentioned.") (citation omitted). Rather, it

provides a non-exhaustive list of the types of real insurance that qualify as "other insurance."

               The Liberty employee most knowledgeable about the "Other Insurance"

provision, Denise Morris, supports the conclusion that the Transocean indemnity is not "other

insurance" within the meaning of the Liberty Policy. (Liberty Supp. Interrog. Resp. No. 10, Feb.

25, 2013 (Ex. 22).) She testified that she had never before even heard that Liberty's "Other

Insurance" clause includes contractual indemnities. (Morris Dep. at 56-57 (Ex. 3).) Ms. Morris




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also admitted that "an argument could be made either way" about whether the "definition of

'other insurance' did not include contractual indemnities." (Id. at 57.)

               The reasonableness of Cameron's interpretation of the "Other Insurance"

provision is further demonstrated by the fact that another insurer in Cameron's excess tower who

could have taken Liberty's position disagreed with it. (See Dec. 14, 2011 letter from R. Bryan

(Ex. 25).) AIG Excess's policy incorporated the same terms and conditions, including the "Other

Insurance" provision, as the Liberty Policy. (See AIG Excess Policy § VI(J) (Ex. 8).) AIG

Excess, however, "did not read [Liberty's "Other Insurance" clause] as allowing contractual

indemnification to serve as other insurance in this context." (Martin Dep. at 61-62 (Ex. 26).)

For that reason, AIG Excess, contrary to its own financial interests, declined to adopt Liberty's

"unreasonable" position and instead honored its obligations to fund the BP Settlement. (Id. at

71-72.) Another of Cameron's insurers, Chubb Atlantic Indemnity Limited, also could have

taken the same position as Liberty but did not. (Chubb Policy Cond. 7 (Ex. 7).)

               In short, Liberty's "Other Insurance" provision cannot reasonably be interpreted to

bring "non-insurance" contractual indemnities within its scope. And, even if the definition of

"other insurance" were susceptible to two reasonable interpretations, the Court must adopt

Cameron's interpretation under Texas law.

II.    LIBERTY'S IMPAIRMENT-OF-SUBROGATION                           DEFENSE      SHOULD         BE
       REJECTED AS A MATTER OF LAW.

               The other reason that Liberty has offered to justify its refusal to pay Cameron's

loss is that Cameron supposedly "agreed, in breach of the Policy, to release its indemnity rights

against Transocean" in the BP-Cameron Settlement. (Liberty Supp. Interrog. Resp. No. 3, Feb.

25, 2013 (Ex. 22).) According to Liberty, this release "impaired Liberty's subrogation rights,"

excusing its obligation to pay. (Liberty Supp. Interrog. Resp. No. 3, Feb. 25, 2013 (Ex. 22).)


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               Liberty is wrong. Cameron did not impair Liberty's subrogation rights because

(i) Liberty lost those rights through its own wrongful denial of insurance to Cameron, and

(ii) even if Liberty had any subrogation rights after its wrongful denial, Cameron and BP

expressly and unambiguously preserved those rights in the BP-Cameron Settlement. Indeed,

Cameron and BP—the only parties to the agreement—have confirmed this was their agreement.

       A.      Liberty Does Not Have Any Subrogation Rights Because It Wrongfully
               Denied Insurance To Cameron.

               Liberty relies on the "Transfer of Rights of Recovery" provision that the Liberty

Policy incorporates from the INIC Policy. That provision states:

               If any Insured has rights to recover all or part of any payment we have
               made under this policy, those rights are transferred to us. The Insured
               must do nothing after loss to impair these rights and must help us enforce
               them.

(INIC Policy § VI(O)(1) (emphasis added) (Ex. 9).) Liberty never acquired subrogation rights

under this provision because Liberty refused to pay. Instead, Liberty consistently denied any

liability for the BP-Cameron Settlement based on its "Other Insurance" position.

               Liberty's unequivocal denial waived its subrogation rights under Texas law.

Starting November 7, 2011, more than a month before Cameron settled with BP, Liberty told

Cameron in no uncertain terms that it would not fund any settlement, under any circumstances,

because of its "Other Insurance" provision. (Nov. 7, 2011 letter from P. Koepff (Ex. 16);

Roberts Dep. at 163-64 (Ex. 29); Engel Dep. at 204 (Ex. 20); Rogin Dep. at 99 (Ex. 27).) For the

next six weeks, Liberty never wavered from its position that it would "decline[] to offer any

amounts under its policy because the LIU policy has the . . . Other Insurance provision." (Dec.

13, 2011 letter from P. Koepff (Ex. 19); see also Engel Dep. at 220 (Ex. 20).)

               "The insurer's right to subrogation is waived upon the insurer's unconditional

denial of liability." 46A EDWARD K. ESPING, ET AL., TEXAS JUR. 3D Insurance Contracts and

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Coverage § 1076 (Jan. 2014) (Ex. 30). Indeed, it is well established that, "[w]here an insurer

denies liability on a policy, it is estopped from thereafter claiming that it was released when the

insured settled with the wrongdoer, or that the insured breached the policy's subrogation

provision, by impairing its subrogation rights, or extinguishing its subrogation rights." See 16

LEE R. RUSS & THOMAS F. SEGALLA, COUCH ON INSURANCE § 224.148 (3d ed. 2005 & Supp.

2013) (Ex. 23); see also id. § 224.152; Scottsdale Ins. Co. v. Knox Park Constr. Co., 488 F.3d

680, 688 (5th Cir. 2007) ("It is difficult to see why an insurer should be allowed, on the one

hand, to deny liability and thus, in the eyes of the insured, breach his contract and, at the same

time, on the other hand, be allowed to insist that the insured honor all his contractual

commitments.") (internal quotation marks and citation omitted).

               This rule accords with well-settled principles of contract law. Where one party

tells the other it is not going to perform, that party's repudiation relieves the other party of any

further obligation under the contract. See, e.g., Jack v. State, 694 S.W.2d 391, 398 (Tex. App.

1984) ("It is fundamental that when one party to a contract repudiates or commits a material

breach of that contract, the other party is discharged or excused from his obligation.").

               Here, Liberty unconditionally denied liability for Cameron's settlement with BP

based on its "Other Insurance" clause. Before the settlement was reached, it told Cameron it

would not pay for that reason—no matter what. Having told its insured "that the insurer is not

concerned, and he is to go his way[,]" Liberty no longer was "allowed to insist that the insured

honor all his contractual commitments." Stephens v. State Farm Mut. Auto. Ins. Co., 508 F.2d

1363, 1366 (5th Cir. 1975), abrogated on other grounds, Holyfield v. Members Mut. Ins. Co.,

572 S.W.2d 672 (Tex. 1978). Liberty thus forfeited its subrogation rights as a matter of law.




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                Liberty cannot insist on the preservation of its subrogation rights while, in the

same breath, telling Cameron that it will not pay even if those rights were preserved. It would

turn the law on its head and be manifestly unfair if an insurer could avoid the consequences of its

unequivocal repudiation simply by continuing to assert the very rights that were waived by that

repudiation. That is particularly true in this case where Cameron was facing a multi-billion-

dollar liability if it did not settle with BP. Liberty should not be allowed to use that circumstance

to avoid its contractual obligations.

        B.      Cameron and BP Expressly Preserved In The BP-Cameron Settlement Any
                Subrogation Rights That Liberty Might Have Had.

                Even though Liberty had waived its subrogation rights, Cameron anticipated that

Liberty would still make this an issue. To eliminate any doubts, Cameron and BP agreed

expressly to preserve Liberty's subrogation rights by including the following provisions:

        •       "[N]otwithstanding any other provision of this Agreement, including paragraphs
                4.2 and 4.3, Cameron is not releasing any subrogation or other rights of Liberty
                Insurance Underwriters Inc. . . ." (BP-Cameron Settlement ¶ 4.4 (Ex. 21).)

        •       Cameron agreed that it would only settle insurance coverage claims for the
                settlement payment it made to BP (i.e., against Liberty) "if the settlement includes
                an express waiver of any such Cameron Insurer's rights of contribution,
                subrogation, indemnity, and rights to bring Claims arising under any other theory
                of recovery . . . against the BP Released Parties or Third Parties, including
                Transocean . . . ." (Id. ¶ 4.6 (emphasis added).)4

        •       The defined term "Consenting Cameron Insurers" specifically excludes Liberty
                from the scope of all releases and covenants not to pursue subrogation claims.
                (Id. ¶ 2.14 & Ex. A (Ex. 21); see also id. ¶¶ 4.1, 4.2, 4.3.)

                The BP-Cameron Settlement could not have been any clearer:                          Liberty's

subrogation rights, including its right to seek recovery from Transocean if it pays Cameron, were

preserved. BP, the only other party to the agreement, interprets it the same way:

4
        In the same provision, Cameron also agreed to use its reasonable best efforts to obtain a judgment that
        Liberty "waived" its subrogation rights "against the BP Released Parties or Third Parties, including
        Transocean." (Id.)


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              [T]he plain language of the BP-Cameron Settlement states that
              Cameron has not released Liberty's rights to subrogate and assert the
              same claims that Cameron could have asserted itself against BP,
              Transocean, and any other parties before entering into the BP-
              Cameron Settlement. Those subrogation rights were not extinguished
              or impaired under the BP-Cameron Settlement by release, assignment
              to BP, or otherwise. At the same time, the BP-Cameron Settlement
              protects BP against subrogation claims from Liberty by placing conditions
              on Cameron's pursuit of insurance against Liberty and requiring Cameron
              to indemnify BP and pay its defense costs if Liberty sues BP or third
              parties, including Transocean, who then seek recovery from BP.

(BP Mot. to Quash 8-9, June 13, 2013, Dkt. 10388 (emphasis added).) (See also Order at 2,

July 5, 2013, Dkt. 10642 (granting motion to quash "for the reasons presented by BP" that the

settlement agreement is not ambiguous); Order, July 16, 2013, Dkt. 10760 (denying appeal).)

              Both BP and Cameron therefore agree that their settlement agreement preserved

Liberty's rights. Liberty, a non-party to the agreement, cannot create ambiguity when the actual

parties agree to its meaning. As the Texas Supreme Court has explained:

              No principle of interpretation of contracts is more firmly established than
              that great, if not controlling, weight should be given by the court to the
              interpretation placed upon a contract of uncertain meaning by the parties
              themselves. Courts rightfully assume that parties to a contract are in the
              best position to know what was intended by the language employed. The
              court should adopt the construction of the instrument as placed upon it by
              the parties unless there is clear language in the instrument indicating an
              intention to the contrary.

Harris v. Rowe, 593 S.W.2d 303, 306 (Tex. 1979).

              This is not altered by paragraph 4.5 of the BP-Cameron Settlement, in which

Liberty asserts that Cameron "assigned to BP or released" its indemnification claims against

Transocean. Paragraph 4.4 says quite clearly that, "notwithstanding any other provision of this

Agreement" (which obviously includes paragraph 4.5), Cameron was not releasing Liberty's

subrogation rights. Cameron could not have impaired Liberty's subrogation rights sub silentio in

one provision when there is a specific provision that expressly preserves those rights and


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overrides all other provisions of the agreement. To conclude otherwise would disregard the

parties' expressed intent and would run afoul of the "basic principle of contract interpretation"

that no terms should be interpreted as "meaningless or superfluous." Chembulk Trading LLC v.

Chemex Ltd., 393 F.3d 550, 555 (5th Cir. 2004).

                 Cameron's approach to preserving Liberty's subrogation rights is well-accepted.

"Since a release may be structured so as to preserve an insurer's rights, the execution of a release

in such a situation does not violate the policy, destroy the insurer's right to subrogation, nor

constitute a defense to an action on the policy." COUCH ON INSURANCE § 224:102 (Ex. 23).

Indeed, "the preferable manner for the discharge of the obligation of the insured not to prejudice

the subrogation rights of the insurer [is to] include in the release to the third party a provision

explicitly reserving the right of the insurer." Weinberg v. Transamerica Ins. Co., 465 N.E.2d

819, 822 (N.Y. 1984). That is precisely what Cameron and BP did here. (See BP-Cameron

Settlement ¶¶ 4.4, 4.6 (Ex. 21); Eastman Dep. at 105, 135 (Ex. 31).)

                 In short, BP and Cameron agreed to preserve, and not extinguish, Liberty's

subrogation rights. Liberty, as a stranger to the agreement, has no basis to say otherwise.5

III.    THE LIBERTY POLICY COVERS CAMERON'S MDL DEFENSE EXPENSES

                 The Liberty Policy provides that "[e]xcept for any definitions, terms, conditions

and exclusions of this policy, the coverage provided by this policy is subject to the terms and

conditions of the [INIC Underlying Policy]." (Liberty Policy Art. I (Ex. 2).) For purposes of




5
        At the hearing on Liberty’s motion for judgment on the pleadings, the Court raised the issue of whether it
        had to decide whether Transocean had indemnification obligations to Cameron. The Court need not do so
        on this motion because (i) as shown in Point I.A, it does not matter whether Transocean owed indemnity; it
        only matters that Transocean was not honoring it; (ii) as shown in Point I.B, the Transocean indemnity was
        not "other insurance" as the term is used in the Liberty Policy, or the term is at least ambiguous; and (iii) as
        shown in Point II.A and B., Liberty either waived its subrogation rights or those rights are preserved.


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determining whether defense expenses are covered, the Court must therefore look first to the

terms of the INIC Policy and then to the terms of the Liberty Policy.

               Here, the INIC Policy imposes two separate and independent obligations relating

to the payment of Cameron's defense expenses. First, the INIC Policy imposes "the right and

duty to defend any Suit against the Insured that seeks damages . . . covered by this policy . . . ."

(INIC Policy, End. 29 ¶ 3 § III(A) (Ex. 9).) Second, the INIC Policy imposes a duty to pay

"Defenses Expenses . . . in addition to the applicable Limits of Insurance of this policy." (Id.

End. 29 ¶ 2 § IV(H).)

               The Liberty Policy states that Liberty does not have a duty to defend. (Liberty

Policy Art. III (Ex. 2).) By contrast, nothing in the Liberty Policy alters Liberty's obligation to

pay "Defense Expenses." The Liberty Policy is silent on that subject. Had Liberty intended to

exclude coverage for Defense Expenses afforded by the INIC Policy, it was required to do so "in

clear and unambiguous language," Hudson Energy, 811 S.W.2d at 555, just as it did for the duty

to defend.

               This interpretation was confirmed by Liberty's witnesses. Jessica Rogin, head of

Liberty's casualty claims department, admitted that Liberty's defense provisions do not address

defense costs. (Rogin Dep. at 136-38 (Ex. 27).) Liberty's former head of underwriting, Denise

Morris, explained that, if defense costs are outside limits (i.e., in addition to the basic indemnity

obligation) and covered by the underlying layer, then they would also be outside limits and

covered by the Liberty Policy. (Morris Dep. at 124 (Ex. 3) ("Q: And under these terms and

conditions, if defense costs were outside limits in the underlying layer, you follow form and

would cover defense costs once the – your layer was hit? A: Yes."); see also id. at 123 ("But if

their defense costs are outside the limit, then so are ours."), id. at 132 (same).) As Mr. Mandel



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testified, that is the case here—the INIC Policy covers defense expenses and they are "outside

the limit" of insurance. (Mandel Dep. at 69-70 (Ex. 4).)

               At the very least, there are two reasonable interpretations of the INIC Policy and

Liberty Policy defense obligation provisions. Under these circumstances, Texas law requires

that Cameron's interpretation be given effect. See Hudson Energy, 811 S.W.2d at 555.

                                        CONCLUSION

               For the reasons discussed above, Cameron's motion for partial summary judgment

should be granted in its entirety.

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                                 CERTIFICATE OF SERVICE

               I hereby certify that the above and foregoing Plaintiff Cameron International

Corporation's Memorandum of Law in Support of Its Motion for Partial Summary Judgment on

Its Claims for Breach of Contract, Indemnity, and Defense Expenses has been served on all

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with

Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of

the United States District Court for the Eastern District of Louisiana by using the CM/ECF

System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 3rd day of March, 2014.

                                                /s/ Phillip A. Wittmann

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